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                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION
__________________________________________
IN RE: COOK MEDICAL, INC, IVC FILTERS
MARKETING, SALES PRACTICES AND                Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                   MDL No. 2570
__________________________________________


This Document Relates to Plaintiff(s)                        Plaintiff Demands A Trial By Jury

Dennis A. Seckman

 Civil Case # 1:21-cv-06538-RLY-TAB


                                 SHORT FORM COMPLAINT


       COMES NOW the Plaintiff(s) named below, and for Complaint against the Defendants

named below, incorporate The Master Complaint in MDL No. 2570 by reference (Document 213).

Plaintiff(s) further show the court as follows:

       1. Plaintiff/Deceased Party:

            Dennis A. Seckman

       2. Spousal Plaintiff/Deceased Party’s spouse or other party making loss of consortium

            claim:

            None

       3. Other Plaintiff and capacity (i.e., administrator, executor, guardian, conservator):

            None

       4.   Plaintiff’s/Deceased Party’s state of residence at the time of implant:

            SC




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      5. Plaintiff’s/Deceased Party’s state of residence at the time of injury:

         WV

      6. Plaintiff’s/Deceased Party’s current state of residence:


         WV


      7. District Court and Division in which venue would be proper absent direct filing:

         United States District Court for the Southern District of West Virginia



      8. Defendants (Check Defendants against whom Complaint is made):

             ☒       Cook Incorporated

             ☒       Cook Medical LLC

             ☒       William Cook Europe ApS

      9. Basis of Jurisdiction:

             ☒       Diversity of Citizenship

             ☐       Other:

         a. Paragraphs in Master Complaint upon which venue and jurisdiction lie:

         Paragraphs 6 through 28, inclusive




         b. Other allegations of jurisdiction and venue:




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      10. Defendants’ Inferior Vena Cava Filter(s) about which Plaintiff(s) is making a claim

         (Check applicable Inferior Vena Cava Filters):

             ☒       Günther Tulip® Vena Cava Filter

             ☐       Cook Celect® Vena Cava Filter

             ☐       Gunther Tulip Mreye

             ☐       Cook Celect Platinum

             ☐       Other:



      11. Date of Implantation as to each product:

         03/28/2006



      12. Hospital(s) where Plaintiff was implanted (including City and State):

         Palmetto Health Richland (now Prisma Health Richland Hospital) (Columbia, SC)



      13. Implanting Physician(s):

         Henry C. Black, MD




      14. Counts in the Master Complaint brought by Plaintiff(s):

             ☒       Count I:        Strict Products Liability – Failure to Warn

             ☒       Count II:       Strict Products Liability – Design Defect


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             ☒       Count III:        Negligence

             ☒       Count IV:         Negligence Per Se

             ☒       Count V:          Breach of Express Warranty

             ☒       Count VI:         Breach of Implied Warranty

             ☒       Count VII:        Violations of Applicable WV (insert State) Law Prohibiting

                     Consumer Fraud and Unfair and Deceptive Trade Practices

             ☐       Count VIII:       Loss of Consortium

             ☐       Count IX:         Wrongful Death

             ☐       Count X:          Survival

             ☒       Count XI:         Punitive Damages

             ☒       Other:            All other counts and claims for Relief set forth in the Master

                     Complaint for an amount to be determined by the trier of fact.

             ☒       Other:                                   (please state the facts supporting this

                     Count in the space, immediately below)

                     Defendants Expressly and Impliedly Warranted that the Cook IVC Filter

                     was a permanent lifetime implant and downplayed the risks associated with

                     migration, perforation, tilt, fracture, and other risk relied upon by the

                     plaintiff to his detriment.

      15. Attorney for Plaintiff(s):

         Paul L. Stoller

      16. Address and bar information for Attorney for Plaintiff(s): Dalimonte Rueb Stoller,

         LLP, 2425 East Camelback Road, Suite 500, Phoenix, AZ, 85016, AZ Bar # 016773.
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                         PLAINTIFF DEMANDS A TRIAL BY JURY

                                      Respectfully submitted,

                                      /s/Paul L. Stoller
                                      Paul L. Stoller
                                      (Admitted Pro Hac Vice, AZ Bar No. 016773)
                                      DALIMONTE RUEB STOLLER, LLP
                                      2425 East Camelback Rd., Suite 500
                                      Phoenix, Arizona 85016
                                      Telephone: (602) 888-2807
                                      Facsimile: (855) 203-2035
                                      paul@drlawllp.com

                                      Lead Counsel for Plaintiffs


                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 27, 2021 a copy of the foregoing was served electronically
and notice of the service of this document will be sent to all parties by operation of the Court’s
electronic filing system to CM/ECF participants registered to receive service in this matter. Parties
may access this filing through the Court’s system.

                                      /s/Paul L. Stoller




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